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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

THE UNITED STATES OF AMERICA, ex.                   )
rel. KENNETH CONNER,                                )
                                                    ) Case No. 11-CV-4458
                        Plaintiff,                  )
                                                    ) Judge Sharon Johnson Coleman
                v.                                  )
                                                    )
PEYHINAIDU VELUCHAMY, et al.                        )
                                                    )
                        Defendants.                 )

                          MEMORANDUM OPINION AND ORDER

        Plaintiff Kenneth Conner (“Conner”) filed a qui tam complaint against former officers and

directors of Mutual Bank, Adams Valuation Corporation (“AV Corp.”), and Douglass Adams,

alleging that they violated the False Claims Act by misrepresenting the quality of Mutual Bank’s

collateral on certain commercial real estate loans to the FDIC through the use of inflated and

inaccurate appraisals. The FDIC, as receiver for Mutual Bank, initiated its own litigation against the

former directors, officers, and legal counsel of Mutual Bank soon thereafter. Conner now moves

this Court to award him his “relator’s share” of the potential settlement in the separate action

brought by the FDIC. For the reasons set forth below, Conner’s motion [268] is denied.

Background

        Conner, a former employee of Mutual Bank, filed this suit under seal in 2011, alleging that

the defendants had violated the False Claims Act by misrepresenting the quality of Mutual Bank’s

collateral on commercial real property loans to decrease the bank’s deposit insurance rates with the

FDIC. (Dkt. 1). Although Conner’s lawsuit remained sealed until August 2012, it was served on

the United States Attorney for the Northern District of Illinois and the Department of Justice

significantly sooner, on October 24, 2011. (Dkts. 9, 15). After the lawsuit was unsealed, the United

States declined to intervene. (Dkt. 17).

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        The Federal Deposit Insurance Corporation (“FDIC”) was named as the receiver of Mutual

Bank on July 31, 2009, after the Illinois Department of Financial and Professional Regulation closed

the bank. (Dkt. 282-2, at 1). The FDIC conducted an audit of the Bank’s material losses which was

made public in a report filed on February 26, 2010. (Id.). Among other things, the audit criticized

the Bank’s officers and Board of Directors for failing to properly oversee and manage the risks

associated with the Bank’s lending strategy and noted the Bank’s poor underwriting and credit-

administration practices. (Id. at 2, 3).

        On October 25, 2011, the FDIC, acting as the receiver of Mutual Bank, filed a lawsuit in this

district asserting claims against (1) former directors and officers of the Bank for negligence, gross

negligence, and breach of the fiduciary duty of care in approving twelve high-risk loans; (2) former

directors of the bank for breaching their fiduciary duties by diverting Bank funds for personal uses;

and (3) the bank’s general counsel and his law firm for legal malpractice and for aiding and abetting

the former directors and officers in breaching their fiduciary duties. FDIC v. Mahajan, No. 11-CV-

7590, dkt. 1 (N.D. Ill Oct. 25, 2011) (hereinafter referred to as “Mahajan”).

        On January 2, 2015, Conner moved this Court to consolidate Mahajan with this qui tam

action, arguing that both suits concerned common claims and sought damages recoverable by the

United States through the FDIC. (Dkt. 197). Conner withdrew that motion after the FDIC and the

defendants in this action had responded to it but before it could be considered by this Court. (Dkts.

216–218, 233).

        On June 11, 2015, Conner moved to intervene in Mahajan to enforce his interest in the

proceeds of that case as the relator under the False Claims Act. Mahajan, dkt. 374 (June 11, 2015).

The assigned magistrate judge issued a Report and Recommendation (“R&R”) on August 7, 2015

denying the motion. Mahajan, dkt. 393 (Aug. 7, 2015). In pertinent part, the magistrate judge held

that the FDIC, acting as the receiver for Mutual Bank, was not the “government” as that term is


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defined by the False Claims Act, and that Conner accordingly was not entitled to a “relator’s share”

of the proceeds of that action because it was not an alternate remedy being sought by the

government in lieu of joining Conner’s qui tam action. Id. Conner filed no objections, and the

Report and Recommendation was subsequently adopted by the district court. Mahajan, dkt. 396

(Sept. 9, 2015). On August 4, 2015, Conner filed the present motion.

Legal Standard

        The False Claims Act (FCA) prohibits any person from knowingly submitting a false or

fraudulent claim to the United States for payment or approval or knowingly making any false

statement material to such a claim. 31 U.S.C. § 3729(a). The Attorney General may bring actions

under the FCA directly in the name of the United States. Alternatively, a private person—known as

a “relator”—may bring a qui tam action “for the person and for the United States Government.” 31

U.S.C. § 3730(b)(1). If such a qui tam action results in a recovery for the government, the relator

shares in the award. See 31 U.S.C. § 3730(d). In the event that the government does not join the

relator’s suit, but rather pursues an alternative remedy, the relator has the same rights to recover in

that proceeding that they would have had if the United States had joined in the qui tam action. 31

U.S.C. § 3730(c)(5); see, e.g., United States v. Bisig, Nos. 100 CV 335 JDTWTL, 101CV0030JDTWTL,

IP 02-cr-112-01 T/F, 2005 WL 3532554, at *2 (S.D. Ind. Dec. 21, 2005) (holding that a criminal

forfeiture proceeding constituted an “alternate recovery” from which the relator could recover);

United States ex rel. Barajas v. United States, 258 F.3d 1004, 1012 (9th Cir. 2001) (holding that

administrative proceedings resulting in a settlement constituted an “alternative remedy”).

Discussion

        The FDIC contends that Conner’s motion effectively asks this Court to reconsider the

Mahajan court’s denial of Conner’s Motion to Intervene. The doctrine of issue preclusion “bars

‘successive litigation of an issue of fact or law actually litigated and resolved in a valid court


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determination essential to the prior judgment,’ even if the issue recurs in the context of a different

claim.” Taylor v. Sturgell, 553 U.S. 880, 892, 128 S.Ct. 2161, 171 L.Ed.2d 155 (2008) (quoting New

Hampshire v. Maine, 532 U.S. 742, 748, 121 S.Ct. 1808, 149 L.Ed.2d 968 (2001)). Issue preclusion

applies where (1) the issue sought to be precluded is the same as that involved in the prior litigation,

(2) the issue was actually litigated, (3) the determination of the issue was essential to the final

judgment, and (4) the party against whom estoppel is invoked was fully represented in the prior

action. Meyer v. Rigdon, 36 F.3d 1375, 1379 (7th Cir. 1994).

        Although an order denying intervention is not final with respect to all parties and all claims,

the order is final with respect to the proposed intervenor so long as it definitively rules on the party’s

participation in the litigation before the district court. United States v. City of Milwaukee, 144 F.3d 524,

528 (7th Cir. 1998). This is because the proposed intervenor, having been denied the status of a

party, would never be able to appeal in the underlying action unless the order denying intervention

was first reversed. Williams v. Katz, 23 F.3d 190, 191 (7th Cir. 1994). Accordingly, the Mahajan

court’s ruling denying Conner’s Motion to Intervene is a valid and final judgment with respect to

Conner.

        Conner’s motion to intervene in Mahajan was based on his right to a share of the FDIC’s

recovery. Mahajan, dkt. 374 (June 11, 2015). The FDIC’s response to Conner’s motion argued, in

part, that the FDIC “is not ‘the Government’ under Section 3730 of the FCA, but rather a receiver

acting independently on Mutual Bank’s behalf,” and Conner addressed this argument in his reply

brief. Mahajan, dkt. 383 (June 24, 2015), dkt. 385 (July 9, 2015).

        The magistrate judge’s R&R, which was subsequently adopted without objection by the

District Court, held in pertinent part that Conner did not have a legally protectable interest in any

settlement money that the FDIC recovered in that action because the FDIC did not constitute the

“government” as contemplated by § 3730 of the False Claims Act. Mahajan, dkt. 392 (Aug. 7, 2015),


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dkt. 396 (Sept. 9, 2015). Therefore the magistrate judge effectively held that (1) Mahajan was not an

alternative remedy to this action and (2) Conner was not entitled to a share of the proceeds in

Mahajan. Because Conner did not object to the magistrate judge’s R&R, he waived his right to

appeal the district court’s adoption of that ruling. Tumminaro v. Astrue, 671 F.3d 629, 633 (7th Cir.

2011). That ruling accordingly constitutes a final judgment with preclusive effect. City of Milwaukee,

144 F.3d at 528. This Court therefore holds that Conner is precluded from relitigating the questions

of whether Mahajan is an alternative remedy to this action and whether he is entitled to a share of

the FDIC’s recovery in that action.

        For the foregoing reasons, Conner’s motion to determine the relator’s share of the

government’s alternate remedy [268] is denied.

        SO ORDERED.



                                                        ____________________________________
                                                        Sharon Johnson Coleman
                                                        United States District Court Judge
DATED: November 30, 2015




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